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           LAW OFFICES OF GABRIEL LIBERMAN, APC
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       4   Facsimile:(916) 485-1111
           Attorney@4851111.com
       5
           Attorney For Debtors
       6
                               UNITED STATES BANKRUPTCY COURT
       7
                               EASTERN DISTRICT OF CALIFORNIA
       8
                                     SACRAMENTO DIVISION
       9
           In re:                          )   Case No.: 2019-21235-D-7
      10                                   )   DC NO.: GEL-001
           JON ERIK HAJEK AND              )
      11                                   )   EXHIBIT IN SUPPORT OF NOTICE OF
           TERRI LYNN HAJEK,               )   DEATH UPON THE RECORD
      12                                   )
                                           )   DATE: June 5, 2019
      13                                   )   TIME: 10:00 a.m.
                                DEBTORS    )   LOCATION: 501 I Street
      14                                   )
                                               6th Floor, Courtroom 34
                                           )
                                           )   Sacramento, CA 95814
      15
                                           )
                                           )   JUDGE: Hon. Ronald S. Bardwil
      16
                                           )
      17                                   )
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      19   EXHIBIT – A: Death Certificate of Jon Erik Hajek

      20   EXHIBIT – B: Copy of insurance claim filed by joint debtor,

      21   Terri Lynn Hajek, with regards to Jon Erik Hajek’s term life

      22   policy with MetLife

      23

      24   Dated: May 7, 2019

      25                                        BY:   /s/Gabriel E. Liberman__
                                                         Gabriel E. Liberman
                                                         Attorney for Debtor’s


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                 EXHIBIT A
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                 EXHIBIT B
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